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                                                                     United States District Court
                                                                       Southern District of Texas

                                                                          ENTERED
                                                                        October 19, 2023
                      UNITED STATES DISTRICT COURT                     Nathan Ochsner, Clerk

                       SOUTHERN DISTRICT OF TEXAS
                          GALVESTON DIVISION

KERRY CHRISTINE JOHNSTON,               §
                                        §
         Plaintiff,                     §
                                        §
VS.                                     §             3:23-cv-286
                                        §
US BANK TRUST NATIONAL                  §
ASSOCIATION,                            §
                                        §
         Defendant.                     §

                        STIPULATED DISMISSAL

       On April 10, 2023, the parties filed a joint stipulation of dismissal with

prejudice pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure. Dkt. 21.

       Accordingly, it is hereby ORDERED that all claims asserted by any

party in the above-captioned lawsuit are hereby DISMISSED WITH

PREJUDICE to their being re-filed. Each party shall bear its own attorneys’

fees and costs. Any pending motions are hereby denied as moot.

       Signed on Galveston Island this 19th day of October, 2023.



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                                        JEFFREY VINCENT BROWN
                                        UNITED STATES DISTRICT JUDGE
